         Case 1:20-cv-00927-JMC Document 37 Filed 03/31/23 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



  JOSHUA MARK TAYLOR,

                         Plaintiff,              Civil Action No. 20-927 (JMC)

                         v.

  UNITED STATES DEPARTMENT OF
  JUSTICE EXECUTIVE OFFICE FOR
  UNITED STATES ATTORNEYS,

                         Defendant.


                                           ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is

       ORDERED that Defendant’s Motion for Summary Judgment, ECF 12, is GRANTED,

and Plaintiff’s Cross-Motion for Summary Judgment, ECF 19, is DENIED; it is further

       ORDERED that judgment is entered in Defendant’s favor, and that this case be closed.

       This is a final appealable order.



       DATE: March 31, 2023


                                                         _______________________
                                                         Jia M. Cobb
                                                         U.S. District Court Judge
